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                      EXHIBIT 1




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                                                                           Laurel S. Tubbs, RPR, CRR
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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION




     DONNA CURLING, ET AL.,
     Plaintiffs,                                   DECLARATION OF
                                                   J. ALEX HALDERMAN IN
     V.                                            SUPPORT OF MOTION FOR
                                                   PRELIMINARY INJUNCTION
     BRAD RAFFENSPERGER, ET AL.,
     Defendants.
                                                   Civil Action No. 1:17-CV-2989-AT



          Pursuant to 28 U.S.C.     §1746, J. ALEX HALDERMAN declares under

    penalty of perjury that the following is true and correct:

           1.    Ihereby incorporate my previous declarations as if fully stated herein.

    Ihave personal knowledge of the facts in this declaration and, if called to testify as

    awitness, Iwould testify under oath to these facts.

          2.     Iwas present via teleconference for today's proceedings and heard the

    testimony of Dr. Eric Coomer and Mr. Gabriel Sterling regarding the State's

    intention to make unplanned, last-minute changes to the software that operates

    Georgia's BMIDs. This surprise development alarms me, for several reasons.

          3.     First, changing voting equipment software on such short notice is far

    from routine, particularly barely a month before a Presidential election. This is
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    because altering the software risks unintentionally introducing new bugs, and it

    would provide an attractive vector for attackers seeking to spread maiware.

          4.     Second, even if the intended changes are "de minimis" (as Dr. Coomer

    testified), meaning they involve differences in asmall number of lines of source

    code, the update process necessitates completely replacing the most important part

    of the BMID's software. Dr. Coomer testified that Georgia must install a new

    "APK"—the Android application package that contains nearly all of each BMD's

    Dominion-authored software—onto each of some 33,000 machines across 159

    counties. Given the accelerated timeline, there is no practical way to reliably inspect

    the APKs and determine that the only change to BMDs' functionality is the intended

    fix, or that the change does not introduce new bugs or even malicious behavior.

          5.     Third, in complex computerized systems like Georgia's election

    equipment, last-minute changes, even seemingly small ones, can introduce serious

    and difficult-to-foresee consequences. That is why rigorous testing of such changes

    is essential to ensure correct operation. An infamous recent example where such

    testing was cut short was the Boeing 737 Max aircraft. Boeing made asmall last-

    minute software change to correct asingle problem and inadvertently created amuch




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    more dangerous failure mode that reportedly led directly to two fatal crashes.'

          6.     By analogy, what Dominion and Georgia are proposing to do is like

    redesigning an aspect of an airplane that is about to take off. The rapid deployment

    of this change will necessitate omitting or cutting short even the ineffectual testing

    and security measures used during the initial rollout of the BMDs. Unlike the

    software it replaces, the new software will not have been subject to EAC testing or

    Pro V&V's full Georgia certification tests. There also is no indication that it will

    undergo acceptance testing to confirm that the correct software has been installed.

    Although, as Ipreviously testified, these steps have limited utility for security, they

    at least help guard against bugs and human error that could otherwise undermine

    results or render equipment inoperable on election day and during early voting. If

    the change does create unforeseen problems, the result would be hugely disruptive.

    There already is too little time to safely modify Georgia's BMID software once before

    the November election, and there is certainly not enough time to modify it twice if

    problems caused by the first change need to be corrected—especially if the problems

    are not discovered until election day.




    'Jack Nicas, Natalie Kitroeff, David Gelles and James Glanz, "Boeing Built
    Deadly Assumptions Into 737 Max, Blind to aLate Design Change," The New
    York Times (June 1, 2019).


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          7.     Finally, this last-minute software replacement compounds my previous

    concerns about the vulnerability of Georgia's BMID-based system. As Ihave already

    testified, malicious modifications to the BMIDs' software could undermine the

    integrity of election results in multiple ways, including by changing either the

    barcodes alone or both the barcodes and the human readable text, with the result that

    election outcomes could be changed without detection. Replacing the software now,

    on the eve of the election, creates avector by which an attacker could introduce

    malicious changes into BMDs state-wide. Malicious code could be introduced by

    what the defendants and their election experts often refer to as an "insider" at Pro

    V&V or by attackers who compromised the company's systems. It could also be

    introduced by modifying the software update package as it is being distributed to the

    state and onward to counties, or as the counties are copying it to machines across the

    state. As Ipreviously testified, merely checking the hash of the software by using

    the BMIDs' build-in features would not be sufficient to detect malicious alterations.

    The late-breaking nature of the change further increases the odds that such an attack

    would succeed, because whatever procedural protections are in place regarding

    software updates will need to be applied on avastly accelerated basis involving every

    Georgia county, likely hundreds of personnel, and tens of thousands of machines.




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          8.     Iam especially perplexed that the State has decided to accept these

    risks, because it would appear, based on today's testimony, that simple procedural

    changes could correct the asserted problem without any changes to the software. Dr.

    Coomer characterized the user-interface problem as occurring only once each time

    aBMID is powered on and operated. If this is the case, the State should be able to

    simply instruct poll workers, after turning on each BMID, to print atest ballot and

    trigger the aberrant behavior before voters begin using the machine. By Dr.

    Coomer's description, the problem would not occur again until the BMID was

    rebooted. Dominion could correct the underlying software after the election, leaving

    time for acomplete battery of critically important tests. That Georgia has chosen to

    accept the much greater risks of a last-minute software change suggests that the

    problem or problems being addressed may be more complex than has been

    described, making ahasty, untested fix all the more dangerous.




          Ideclare under penalty of the perjury laws of the State of Georgia and the

    United States that the foregoing is true and correct and that this declaration was

    executed this 28th day of September, 2020 in Ann Arbor, Michigan.




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